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     Exhibit 20 (part 2)




     Exhibit 20 (part 2)
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Strengthening the FDA’s Ability to                                          b. Implementing direct hiring authority;
Carry Out its Mission                                                       c. Allowing the use of qualified blind trusts or other
                                                                               appropriate mechanisms to address conflict-of-
3.1 Congress should assure adequate capacity and scientific
                                                                               interest concerns;
expertise at the FDA by performing the following:
                                                                            d. Exploring and improving personnel policies that
     1. Require the FDA to conduct an organizational review
                                                                               support appropriate turnover; and
        process to identify gaps in scientific expertise, capacity to
        carry out various aspects of its mission, and opportunities         e. Implementing additional exemptions from standard
        for streamlining and using existing resources more                     federal agency hiring policies (including increasing the
        efficiently.                                                           number of employees that can exceed federal salary
                                                                               compensation caps).
     2. Require FDA, working with HHS and the Office of Personnel
        Management, to modernize human resources practices              3. Eliminate barriers that prevent FDA staff from attending
        and systems to address gaps in scientific expertise and            scientific conferences and meetings, which are crucial
        capacity, by performing the following and reporting to             to helping them keep up with the latest scientific
        Congress on progress, within 12 months:                            developments.

         a. Reviewing and improving recruiting, hiring, and             4. Encourage FDA to expand its partnerships with academic
            retention strategies;
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      institutions to raise awareness of the opportunities at the      3.3 Congress should improve the FDA’s internal review
      FDA and build a pipeline of talented graduates who can           processes by performing the following:
      establish a career at the agency.                                    1. Direct FDA to both conduct and implement strategies
    5. Encourage FDA to improve its IT infrastructure to                      in response to an organizational study of its review and
       support knowledge management and sharing, workflow                     approval processes; this study should evaluate review
       management, and more effective communications across                   times, identify root causes of delays, identify best
       reviewers and centers, as well as with sponsors.                       practices, and recommend measurable goals and actions to
    6. Create for FDA a waiver of the OMB Paperwork Reduction                 support faster turnaround times. As part of this effort, FDA
       Act to further FDA’s ability to more readily collect                   should conduct a best practices study of review divisions to
       information from industry, academia, patient groups,                   identify best practices that can be applied across divisions.
       and other experts and stakeholders through voluntary                2. Direct FDA to develop an inter-agency education and
       surveys and questionnaires, to rapidly expand knowledge                training program to implement best practices across
       and insights.                                                          centers and divisions.

3.2 Congress should encourage the effective use of public-                 3. Direct FDA to establish a monitoring system to track and
private partnerships at the FDA by performing the following:                  report progress against implementation goals and impact
                                                                              on drug and device review times.
    1. Reconfirm and encourage the FDA to use its existing
       authority to use partners and trusted intermediaries to
       augment FDA internal resources, particularly for novel or
       complex technologies that may be outside of the FDA’s
       normal expertise.
    2. Require the FDA to monitor, evaluate, and report on the
       outcomes and effectiveness of existing public-private
       partnerships to determine whether additional investment
       in these programs and/or further coordination and
       accountability associated with such programs is warranted,
       as well as whether outdated or ineffective public-private
       partnerships should be phased out.
    3. Support the launch of a study to both assess current
       conflict of interest policies associated with advisory groups
       and develop recommendations that both effectively address
       conflict of interest concerns and enable FDA to gain input
       from a broad and representative set of individuals including
       patients, clinicians, and researchers.

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Increasing Investment in Medical                                               b. Allows the FDA to remove labeling and promotion
Products to Address Unmet and Public                                              restrictions if the drug is approved for broader use.
Health Needs                                                               2. Require FDA to publish guidance describing criteria,
                                                                              process, and other considerations for demonstrating the
4.1 Congress should accelerate the development and approval
                                                                              safety and effectiveness of antibacterial and antifungal
of antibiotics by performing the following:
                                                                              drugs approved for use in limited populations.
     1. Require FDA to establish a program to expedite the
                                                                           3. Require the FDA to publish an assessment of the program,
        approval of certain antibacterial and antifungal drugs for
                                                                              hold a public meeting, and consider expansion of the
        use in limited populations of patients at the request of the
                                                                              limited use pathway and program beyond antibacterial and
        sponsor, which includes the following:
                                                                              antifungal drugs.
         a. Requires prominent labeling of the limited population
                                                                       4.2 Congress should improve processes for early patient
            antibacterial and antifungal drugs that indicates it is
                                                                       access to medical products by performing the following:
            for a limited and specific population and requires the
            sponsor to submit promotional materials to the FDA for         1. Require sponsors to make their policies on expanded
            approval; and                                                     access during clinical trials publicly available, including
                                                                              procedures for requests, qualification criteria, and a single
                                                                              point of contact.

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    2. Require FDA to finalize guidance regarding how it interprets
       and uses adverse drug event data resulting from drug use
       under expanded access programs.
4.3 Congress should increase incentives for the development
of medical products with unmet medical needs by creating a
new regulatory pathway for dormant therapies, by performing
the following:
    1. Give the FDA the authority to designate a new treatment
       as a “dormant therapy” if intended to treat an unmet
       medical need. A dormant therapy must not contain active
       ingredients that have been previously approved by the FDA.
    2. Determine a fixed period of protection from generic
       and biosimilar competition for dormant therapies.
    3. Require sponsors of approved dormant therapies
       designation to waive certain rights to patents of the
       approved dormant therapy at the end of the
       protection period.




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Conclusion
Congress has demonstrated significant bipartisan leadership in
advancing proposals that will accelerate the development and
delivery of both safe and effective drugs and devices to
the American people.

The policy recommendations included in this report will
significantly advance medical innovation and support patients
in gaining timely access to treatments that can cure their
diseases, improve their conditions, and promote their general
health and wellbeing.




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